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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


 In re:                                                                      Chapter 11

 FTX Trading Ltd., et al.,                                                   Case No. 22-11068 (JTD)
                                       Debtors.
                                                                             Jointly Administered



                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.


SP Multi Claims Holdings, LLC                                     REDACTED
Name of Transferee                                                Name and current address of Transferor

Name and Address where notices and payment
to transferee should be sent:
SP Multi Claims Holdings, LLC
2 Greenwich Plaza
Suite 1
Greenwich, CT 06830
Attn: Operations
Email: 12017192157@tls.ldsprod.com -and- rbeacher@pryorcashman.com

     Claim Information                Creditor Name             Amount                  Debtor            Case Number
    Schedule No. 6216778                Redacted            100% of the amount      FTX Trading, Ltd.       22-11068
                                                               of the claim
     Confirmation ID No.                 Redacted           100% of the amount      FTX Trading, Ltd.        22-11068
  3265-70-JTXLF-203232740                                      of the claim
     Customer Code No.                   Redacted           100% of the amount      FTX Trading, Ltd.        22-11068
          01481428                                             of the claim

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
my knowledge and belief.

SP Multi Claims Holdings, LLC
By: Silver Point Capital, L.P., its manager


By:______________________
Transferee/Transferee’s Agent


Date: July __,
           23 2024
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
152 & 357
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                                            IDENTITY OF TRANSFEROR


Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address, and
has not attached the signed Evidence of Transfer to this notice of Transfer of Claim.


Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
Bankruptcy Court, the Debtors, and appropriate professionals.
